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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 08-80736-Civ-Marra/Johnson


  JANE DOES #1 AND #2,

         Petitioners,

  v.

  UNITED STATES OF AMERICA,

        Respondent.
  ________________________________/

                UNITED STATES’ RESPONSE TO PETITIONERS’ MOTION
              TO USE CORRESPONDENCE TO PROVE VIOLATIONS OF THE
                  CRIME VICTIMS’ RIGHTS ACT AND TO HAVE THEIR
                     UNREDACTED PLEADINGS UNSEALED [DE51]

         The United States of America, by and through the undersigned, hereby files this Response

  in partial opposition to Petitioners’ Motion to Use Correspondence to Prove Violations of the Crime

  Victims’ Rights Act and to Have Their Unredacted Pleadings Unsealed (DE51). As explained in the

  United States’ Response to Petitioners’ Motion for Finding of Violations of the Crime Victims

  Rights Act (DE48), and Petitioners’ Motion to Have Their Facts Accepted (DE49), it is the position

  of the United States that this case presents a straightforward legal issue and no additional facts or

  evidence are necessary for the resolution of the matter. The United States also was not a party to the

  action wherein Petitioners were ordered to obtain court approval prior to using the correspondence

  as evidence.1 Accordingly, the United States takes no position as to that portion of Petitioners’

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           The Government does note, however, that Petitioners have filed the Non-Prosecution
  Agreement (“NPA”) in the public portion of the Court file. (DE48, Ex. E.) That document is the
  subject of a Protective Order in the instant suit. (See DE26.) Petitioners have previously moved to
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  Motion, although it notes that merely attaching the correspondence to a motion without

  authenticating it does not make it admissible evidence.

         With regard to Petitioners’ Motion to Unseal, when Petitioners’ originally conferred with the

  government, the undersigned stated that there was no objection to the motion to unseal. However,

  a copy of what Petitioners intended to file was not provided. Also, upon undertaking some research

  in preparation for a response to DE49, it was determined that the Government could not, in

  accordance with our legal obligations, agree to unsealing the documents referenced herein.

  Accordingly, for the reasons set forth herein, the United States opposes, in part, Petitioners’ Motion

  to Unseal. Instead, the United States has filed herewith, under seal, a redacted version of DE48 and

  the relevant portions of Exhibit A, and asks the Court to unseal only redacted versions, if the Court

  decides to grant Petitioners’ Motion to Unseal.

         CERTAIN PORTIONS OF PETITIONERS’ PLEADINGS RUN AFOUL OF FED. R.
         CRIM. P. 6(e) AND/OR CONSTITUTIONAL MANDATES.

         Several of the “facts” that Petitioners include in their Statement of Undisputed Facts allege

  that Jeffrey Epstein (“Epstein”) and others have committed crimes for which they were never

  charged or convicted. Others refer to matters that were occurring before the grand jury. The

  documents contained in Exhibit A to their pleading contain similar materials. The Federal Rules of

  Criminal Procedure and constitutional mandates dictate that these should be kept sealed.

                 A.      Federal Rule of Criminal Procedure 6(e)

         Rule 6(e) states that “an attorney for the government” “must not disclose a matter occurring


  unseal the NPA in this action, (see DE28,) which the Court has denied. (DE36.) Although the
  Government acknowledges that the NPA is a matter of public record in other courts, it is not a public
  record here. As discussed below, its disclosure, which includes names of uncharged persons,
  implicates Due Process.

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  before the grand jury.” Fed. R. Crim. P. 6(e)(2)(B). Furthermore, court hearings and court records

  and orders must be sealed “to the extent and as long as necessary to prevent the unauthorized

  disclosure of a matter occurring before a grand jury.” Fed. R. Crim. P. 6(e)(5) & (6).

          Courts have construed “a matter occurring before the grand jury” to include “events which

  have already occurred before the grand jury, such as a witness’s testimony, [and] matters which will

  occur, such as statements which reveal the identity of persons who will be called to testify or which

  report when the grand jury will return an indictment.”2 In re Grand Jury Investigation, 610 F.2d

  202, 216-17 (5th Cir. 1980).

          While Petitioners were merely asking the Government to agree with their assertions of “fact”

  based upon materials Petitioners had received from counsel for Epstein, rather than asking the

  Government to make affirmative disclosures of grand jury material, “Rule 6(e) does not create a type


          2
        It is worth noting that, within the same case, a court can take differing positions on this.
  Compare:

          [T]he disclosure of information obtained from a source independent of the grand jury
          proceedings, such as a prior government investigation, does not violate Rule 6(e).
          A discussion of actions taken by government attorneys or officials, e.g., a
          recommendation by the Justice Department attorneys to department officials that an
          indictment be sought against an individual does not reveal any information about
          matters occurring before the grand jury. Nor does a statement of opinion as to an
          individual’s potential criminal liability violate the dictates of Rule 6(e).

  With:

          Disclosures which expressly identify when an indictment would be presented to the
          grand jury, the nature of the crimes which would be charged, and the number of
          persons who would be charged run afoul of the secrecy requirements codified in Rule
          6(e).

  In re Grand Jury Investigation, 610 F.2d at 217, 218. In light of these conflicting directives, the
  government must err, if at all, on the side of treating all information related to grand jury proceedings
  as “matters occurring before the grand jury.”

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  of secrecy which is waived once public disclosure occurs.” In re Motions of Dow Jones & Co., Inc.,

  142 F.3d 496, 505 (D.C. Cir. 1998) (quoting In re North, 16 F.3d 1234, 1245 (D.C. Cir. 1994)).

  “[E]ven if material concerning the grand jury investigation had been disclosed to the public, the

  Government attorney . . . had a duty to maintain grand jury secrecy. This attorney could neither

  confirm nor deny the information presented by the ‘external party.’” Senate of the Commonwealth

  of Puerto Rico v. United States Dep’t of Justice, 1992 WL 119127 at *3 (D.D.C. May 13, 1992)

  (citing Barry v. United States, 740 F. Supp. 888, 891 (D.D.C. 1990) (“Rule 6(e) does not create a

  type of secrecy which is waived once public disclosure occurs. The Government is obligated to

  stand silent regardless of what is reported, accurate or not, by the press.”).

         The reasons for Rule 6(e) are multiple:

         In addition to preventing adverse pretrial publicity about a person who may be
         indicted and subsequently tried, secrecy protects the reputation of a person under
         investigation who is not indicted. The secrecy requirement also encourages reluctant
         witnesses to testify without fear of reprisals from those against whom testimony is
         given, prevents tampering with grand jury witnesses in an effort to alter their trial
         testimony, and permits the grand jury to deliberate free from the influence of
         publicity. Finally, secrecy prevents disclosures to persons who may be interested in
         the investigation if the facts are known or might attempt to escape if they have reason
         to believe certain indictments will issue.

  United States v. Eisenberg, 711 F.2d 959, 961 (11th Cir. 1983) (citing United States v. Procter &

  Gamble Co., 356 U.S. 677, 681 n.6 (1958)).

         Several of the “facts” contained in Petitioners’ submission contain allegations related to

  matters occurring before the grand jury. Pursuant to Fed. R. Crim. P. 6(e), the Government cannot

  confirm or deny the accuracy of those allegations. Likewise, portions of Exhibit A to Docket Entry

  48 refer to matters occurring before the Grand Jury. Notwithstanding Petitioners’ citations to the

  First Amendment and the interest of the press and the public in this case, the First Amendment right


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  of access is not absolute and sealing is appropriate in connection with grand jury proceedings. As

  explained by Judge Jordan in United States v. Steinger, 626 F. Supp. 2d 1231 (S.D. Fl. 2009):

         “The proper functioning of our grand jury system depends upon the secrecy of grand
         jury proceedings,” Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 218
         (1979), and this expectation of privacy is generally codified in Rule 6(e) of the
         Federal Rules of Criminal Procedure. . . . .

         There is a second reason why sealing is currently appropriate. As noted above, the
         Public Integrity Section has determined that six former or present public officials had
         no knowledge of, or involvement in, the alleged wrongdoing, and its probe continues
         against others who have yet to be indicted or cleared. The sealed documents and
         transcripts refer to many of those individuals by name. Disclosure of those names,
         and the matters being investigated, could have devastating consequences for those
         persons who have been cleared of any misconduct, as well as for those still under
         investigation. As William Shakespeare put it centuries ago, “the purest treasure
         mortal times afford is spotless reputation; that away, men are but guilded loam, or
         painted clay.” W. Shakespeare, RICHARD II, ACT 1, SCENE 1, lines 177-78 (1597).
         And if it is true that “at every word a reputation dies,” A. Pope, THE RAPE OF THE
         LOCK, CANTO III, line 16 (1712), then public access to the sealed documents and
         transcripts here could easily kill many reputations. This overriding interest is, I
         believe, of a higher value under [Press-Enterprise Co. v. Superior Court, 464 U.S.
         501 (1984)] so as to warrant sealing, and provides good cause under the common-law
         access balancing test to preclude disclosure.

  Steinger, 626 F. Supp. 2d at 1235-36 (brackets in original omitted). See also In re Petition of

  American Historical Ass’n, 62 F. Supp. 2d 1100, 1103 (S.D.N.Y. 1999) (“A cornerstone of the grand

  jury secrecy rule is the protection of the reputations and well-being of individuals who are subjects

  of grand jury proceedings, but are never indicted . . . [T]he rule of secrecy seeks to protect . . .

  unindicted individuals from the anxiety, embarrassment, and public castigation that may result from

  disclosure.”) (cited in Steinger).




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                 B.      Due Process

         As noted above, one of the reasons behind 6(e) is to protect the reputations of persons who

  are under investigation but not indicted. This is a corollary to what the Court of Appeals found to

  be a due process protection afforded by the Fifth Amendment of the United States Constitution –

  namely, “that the liberty and property concepts of the Fifth Amendment protect an individual from

  being publicly and officially accused of having committed a serious crime, particularly where the

  accusations gain wide notoriety.” See In re Smith, 656 F.2d 1101, 1106 (5th Cir. 1981) (citation

  omitted).3 In Smith, the petitioner filed a motion seeking to have his name stricken from the factual

  proffers of two criminal defendants. Smith had not been criminally charged or convicted. The Court

  of Appeals agreed with Smith, castigating the Government:

         no legitimate governmental interest is served by an official public smear of an
         individual when that individual has not been provided a forum in which to vindicate
         his rights. . . .

         [W]e completely fail to perceive how the interests of criminal justice were advanced
         at the time of the plea hearings by such an attack on the Petitioner’s character. The
         presumption of innocence, to which every criminal defendant is entitled, was
         forgotten by the Assistant United States Attorney in drafting and reading aloud in
         open court the factual resumes which implicated the Petitioner in criminal conduct
         without affording him a forum for vindication.

  Id. at 1106, 1107. The Court of Appeals ordered the District Court Clerk’s Office to “completely

  and permanently obliterate and strike from the records of the pleas of guilty . . . any and all

  identifying reference to or name of Mr. Smith, the Petitioner, so that such references may not be used

  as a public record to impugn the reputation of Petitioner.” Id. at 1107. The Court further ordered

  that all of the pleadings in the case be sealed. Id.


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         This opinion of the Fifth Circuit was made binding precedent in the Eleventh Circuit
  pursuant to Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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          Courts have interpreted Smith to apply not only to references to unindicted co-conspirators

  in indictments and factual proffers, but also to motion papers. See, e.g., United States v. Anderson,

  55 F. Supp. 2d 1163, 1168 (D. Kan. 1999) (“After carefully reviewing the government’s moving

  papers on the conflict of interest issue, the court can find no reason why the government might have

  ‘forgotten’ the presumption of innocence in such a public pleading . . .”) (citing Smith, 656 F.2d at

  1107); United States v. Holy Land Foundation, 624 F.3d 685 (5th Cir. 2010) (Fifth Amendment

  rights of organization were violated when its name was listed among 246 unindicted coconspirators

  in pre-trial brief).

          Petitioners’ “Statement of Undisputed Material Facts,” and Exhibit A to DE48 contain

  allegations related to uncharged crimes against not only Epstein but several other individuals.4 In

  keeping with the First Amendment’s limited right of access, the United States does not oppose the

  motion to unseal in full, rather, pursuant to Smith and its progeny, the relevant allegations should be

  redacted. See, e.g., Smith, 656 F.2d at 1107 (ordering Clerk’s Office to “completely and permanently

  obliterate and strike from the records . . . any and all identifying reference to or name of Mr. Smith”

  and sealing all other related records); United States v. Anderson, 55 F. Supp. 2d 1163, 1170 (D. Kan.

  1999) (ordering Clerk’s Office to “completely and permanently strike” all references to petitioners);

  Steinger, 626 F. Supp. 2d at 1237 (concluding that documents must be kept fully sealed because

  “redactions would be so heavy as to make the released versions incomprehensible and

  unintelligible”).

          Filed herewith, under seal in accordance with Rule 6(e), is a proposed redacted copy of DE48

  and the relevant pages of Exhibit A. With respect to DE48 itself, the Government has only redacted


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              The NPA also contains such references.

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  language that in some way suggests that the Government (including the FBI) is the source of the

  allegation. However, the Government reiterates, as it has stated in its opposition to “Petitioners’

  Motion to Have Their Statement of Undisputed Material Facts Accepted” that it denies all of the

  allegations contained in Petitioners’ Statement that aver violations of law by Epstein or others that

  have not resulted in a conviction, including but not limited to paragraphs 1, 2, 4, 5, 10, 11, 17, 37,

  52, and 53. With respect to Exhibit A, out of 359 pages, the United States only seeks to redact 40

  full pages, and seeks to redact individual words or sentences on an additional 20 pages.

         The United States further respectfully requests that the Court allow it to redact the personal

  telephone number and email address of its personnel, that appears on eighteen pages in Exhibit A

  to DE48. The information serves no evidentiary purpose.

         The United States has conferred with counsel for Petitioners on these matters. Petitioners

  have no objection to the redaction of the personal telephone number and email address of

  government personnel and to the redaction of individual statutory references in Exhibit A.

  Petitioners object to redactions of DE48 and to further redactions of Exhibit A. For ease of reference

  by the Court, the redactions that are agreed to are marked in blue; those that are in dispute are

  marked in red. Redactions that appear in plain black are pre-existing (i.e., they are redactions done

  either by Petitioners or by Epstein’s counsel).

                                            CONCLUSION

         For the foregoing reasons, the United States respectfully requests that the Court deny, in part,

  Petitioners’ Motion to Unseal its Motion for Finding of Violations of Crime Victim’s Rights Act and

  Request for Hearing on Appropriate Remedies [DE48] and Exhibit A thereto and, instead, that the

  Court unseal only a redacted version of those pleadings, that is, the redacted documents filed


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  herewith.

                                              Respectfully submitted,

                                              WIFREDO A. FERRER
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 7, 2011, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF.



                                               s/ Dexter A. Lee
                                              DEXTER A. LEE
                                              Assistant U.S. Attorney




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                                          SERVICE LIST

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                      United States District Court, Southern District of Florida


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